Case 25-10528-amc                    Doc         Filed 04/11/25 Entered 04/11/25 11:45:52                              Desc Main
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      Fill in this information to identify the case:

      Debtor 1      Michael Joseph Borek

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 25-10528-amc




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                              12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Rocket Mortgage, LLC f/k/a Quicken                             Court claim no. (if known): 9
    Loans, LLC

  Last four digits of any number you use to
  identify the debtor’s account: 9229

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
            No
           Yes. Date of the last notice:         /    _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                          Dates incurred                           Amount

    1. Late charges                                                                                                     (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                  (2)   $ 0.00
    3. Attorney’s fees                                                 2/21/25 Objection to Plan-Confirmation @ $700    (3)   $ 700.00
    4. Filing fees and court costs                                                                                      (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                            3/4/25 Proof of Claim Fee @ $725       (5)   $ 725.00
    6. Appraisal/Broker’s price opinion fees                                                                            (6)   $ 0.00
    7. Property inspection fees                                                                                         (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                        (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                  (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                         (10)   $ 0.00
  11. Other. Specify:                                                            2/18/25 Plan Review Fee @ $500        (11)   $ 500.00
  12. Other. Specify:                                                                                                  (12)   $ 0.00
  13. Other. Specify:                                                                                                  (13)   $ 0.00
  14. Other. Specify:                                                                                                  (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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    Debtor1    Michael Joseph Borek                                       Case number (if known) 25-10528-amc
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Andrew Spivack
         Signature
                                                                                  Date 04/10/2025



    Print: Andrew Spivack (84439)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c om




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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    Philadelphia Division


 IN RE:
 Michael Joseph Borek                                    Case No. 25-10528-amc
                                                         Chapter 13
 Rocket Mortgage, LLC f/k/a Quicken Loans, LLC,
        Movant

 vs.

 Michael Joseph Borek ,
       Debtor




                                    CERTIFICATE OF SERVICE

        I, the undersigned, certify that on April 10, 2025, I did cause a true and correct copy of the
documents described below to be served on the parties listed on the mailing list exhibit, a copy of
which is attached and incorporated as if fully set forth herein, by the means indicated and to all parties
registered with the Clerk to receive electronic notice via the CM/ECF system:

   •   Notice of Postpetition Mortgage Fees, Expenses, and Charges


        I certify under penalty of perjury that the above document was sent using the mode of
service indicated.


Date: April 10, 2025
                                              /s/Andrew Spivack
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Ryan Srnik, PA Bar No. 334854
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: PABKR@brockandscott.com
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______________________________________________________________________________

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next
page if necessary.)

Michael A Cibik, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com
Debtor's Attorney
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

SCOTT F WATERMAN [Chapter 13],
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606
Bankruptcy Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street Suite 320
Philadelphia, PA 19107
US Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

Michael Joseph Borek
128 Ridgeway Ave
Norwood, PA 19074
Debtor
Via:   ☐ CM/ECF ☒ 1st Class Mail                ☐ Certified Mail        ☐ e-mail:
       ☐ Other:
